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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

 LAURIE WOERPEL,

           Plaintiff,                              Case No.: 1:17-cv-00728-JTN-ESC
                                                   Hon. Judge Janet T. Neff
 v.                                                Magistrate Judge Ellen S. Carmody

 CREDIT SERVICES, INC.,

           Defendant.

                                  NOTICE OF SETTLEMENT

          Defendant, Credit Services, Inc. (“Defendant”), by and through undersigned counsel,

hereby informs the court that a settlement of this matter has been reached. The parties are

finalizing settlement paperwork, which should be completed within the next 30 days. Defendant

therefore requests that this Honorable Court vacate all dates currently set on calendar for this

matter.

                                                   Respectfully Submitted,

                                                   /s/ Charity A. Olson
                                                   Charity A. Olson (P68295)
                                                   BROCK & SCOTT, PLLC
                                                   2723 S. State St., Ste. 150
                                                   Ann Arbor, MI 48104
                                                   (734) 222-5179
 Dated: March 12, 2018                             charity.olson@brockandscott.com


                                 CERTIFICATE OF SERVICE

        I, Charity A. Olson, hereby state that on March 12, 2018, I electronically filed the
foregoing document with the Clerk of the Court using the ECF system, which will send
notification of such filing to the attorneys of record.

                                       /s/ Charity A. Olson
                                    Charity A. Olson (P68295)
                                    BROCK & SCOTT, PLLC
